      Case 2:12-cv-02499-JAM-CKD Document 158 Filed 09/07/17 Page 1 of 8


 1

 2

 3

 4

 5

 6

 7

 8                         UNITED STATES DISTRICT COURT
 9                       EASTERN DISTRICT OF CALIFORNIA
10

11   SANDY BELL and MARTIN GAMA,          )   Case No. 2:12-CV-02499 JAM-CKD
     individually, and on behalf of       )
12   other members of the general         )
     public similarly situated, and       )
13   as aggrieved employees pursuant      )   ORDER GRANTING DEFENDANTS’
     to the Private Attorneys General     )   MOTION FOR PARTIAL SUMMARY
14   Act (“PAGA”),                        )   JUDGMENT
                                          )
15                      Plaintiffs,       )
                                          )
16        v.                              )
                                          )
17   HOME DEPOT U.S.A., a Delaware        )
     corporation, et al.,                 )
18                                        )
                       Defendants.        )
19   MICHAEL HENRY, on behalf of          )
     himself, all others similarly        )
20   situated, and the general            )
     public,                              )
21                                        )
                        Plaintiff,        )
22                                        )
          v.                              )
23                                        )
     HOME DEPOT U.S.A., INC., a           )
24   Delaware corporation; and DOES       )
     1-50, inclusive,                     )
25                                        )
                        Defendants.       )
26

27        This matter is back before the Court on Home Depot U.S.A.,
28   Inc., and John Brooks’ (“Home Depot”) motion for partial summary


                                         1
         Case 2:12-cv-02499-JAM-CKD Document 158 Filed 09/07/17 Page 2 of 8


 1   judgment on Plaintiffs’ derivative claims for penalties under

 2   California Labor Code sections 203 and 226. 1          For the reasons set

 3   forth below, Home Depot’s motion for partial summary judgment is

 4   granted.

 5

 6                     I.   FACTUAL AND PROCEDURAL BACKGROUND

 7           Home Depot previously sought, and obtained, summary

 8   adjudication on several of Plaintiffs’ claims in this action.            Mot.

 9   for Partial Summ. J., ECF No. 72; Order re Summ. J., ECF No. 113.

10   However, the Court denied the motion for summary judgment on

11   Plaintiffs’ claim that Home Depot failed to pay all required

12   overtime to employees who worked shifts over eight hours that

13   spanned two workdays.       Order re Summ. J.     The Court subsequently

14   granted class certification for “[a]ll persons who worked for

15   Defendant Home Depot U.S.A., Inc. in California as a non-exempt,

16   hourly paid supervisor at any time from August 14, 2009 until the

17   date of [the class certification] order who worked at least one

18   overnight shift that crossed midnight of more than eight hours, and

19   who, as a result, was not paid overtime for the hours worked over

20   eight hours during such overnight shift.”           Order re Class

21   Certification, ECF No. 110.        The Court also certified most of the

22   derivative claims under the UCL and California Labor Code, to which

23   Home Depot had not objected.        The Court denied certification of

24   Plaintiffs’ derivative claim under section 226(e).            Transcript re

25   Class Certification, ECF No. 105, at 57–58.

26           On September 12, 2016, the Court consolidated Henry v. Home

27
     1
       This motion was determined to be suitable for decision without
28   oral argument. E.D. Cal. L.R. 230(g). The hearing was scheduled
     for July 25, 2017.
                                            2
         Case 2:12-cv-02499-JAM-CKD Document 158 Filed 09/07/17 Page 3 of 8


 1   Depot U.S.A., Inc., No. 2:16-cv-02102-MCE-AC (“Henry”)—which had

 2   been transferred to the Eastern District from the Northern District

 3   of California—with this action, Bell v. Home Depot U.S.A., Inc.,

 4   No. 2:12-cv-02499-JAM-CKD.

 5           Home Depot now seeks summary adjudication on Plaintiffs’

 6   derivative claims for penalties under sections 203 and 226 of the

 7   California Labor Code. 2

 8

 9                                   II.   OPINION

10           A.   Underlying Claim

11           It is undisputed that Home Depot defines its workday as the

12   calendar day beginning at 12:00AM and ending at 11:59PM.

13   Plaintiffs claim that Home Depot’s failure to pay class members

14   overtime wages for overnight shifts that exceeded eight hours

15   violates section 510’s daily overtime rules.

16           In denying Home Depot’s motion for summary judgment on the

17   midnight overtime claim, the Court adopted the Henry court’s

18   reasons for denying summary judgment on the same issue.             See Order

19   re Summ. J., Exh. A at 19 & 28–29; Def. Exh. E, “Order Denying

20   Defendant’s Motion for Partial Summary Judgment” in Henry (“Henry

21   SJ Order”), ECF No. 147-5.        The Henry court summarized the law as

22   follows:

23           The California Labor Code affords an employer
             significant flexibility in the designation of a
24           workweek and workday. However, the employer’s
             designation must not be designed to evade paying
25           overtime. An employer may not engage in subterfuge or
             artifice designed to evade the overtime laws.
26

27
     2
28     All further section references are to the California Labor Code
     unless otherwise indicated.

                                            3
      Case 2:12-cv-02499-JAM-CKD Document 158 Filed 09/07/17 Page 4 of 8


 1   Henry SJ Order at 3 (citing Cummings v. Starbucks Corp., No. cv 12-

 2   06345-MWF FFMX, 2013 WL 2096435, at *4 (C.D. Cal. May 14, 2013);

 3   Seymore v. Metson Marine, Inc., 194 Cal. App 4th 361, 370 (2011);

 4   Jakosalem v. Air Serv Corp., No. 13-cv-05944-SI, 2014 WL 7146672,

 5   at *4 (N.D. Cal. Dec. 15, 2014); Huntington Mem’l Hosp. v. Super.

 6   Ct., 131 Cal. App. 4th 893, 910 (2005)) (quotation marks omitted).

 7   It then adopted and applied the Jakosalem court’s holding that

 8   although employers are not “required in all instances to define

 9   each employee’s workday to begin with that employee’s shift,” an

10   employer may not implement a workday “designed primarily to evade

11   overtime compensation.”      Id. (citing Jakosalem, 2014 WL 7146672).

12   In deciding Home Depot’s initial motion for summary judgment, this

13   Court followed Henry and held it could “not conclude as a matter of

14   law that [Home Depot’s] workday designation was not designed to

15   evade overtime law since there [were] disputed issues of material

16   fact, and the evidence before the Court [gave] rise to competing

17   inferences.”   Order re Summ. J., Exh. A at 29.       The overtime claim

18   and derivative claims thus remain in dispute.

19        B.     Applicable Law

20        Home Depot argues that a good faith dispute with respect to

21   the overtime claim precludes imposition of penalties under section

22   203 and 226(e).

23        Section 203 imposes penalties on an employer that willfully

24   fails to pay an employee wages due at the time the employee quits

25   or is discharged.    “A willful failure . . . occurs when an employer

26   intentionally fails to pay wages to an employee when those wages

27   are due.”   Cal. Code Reg. tit.8, § 13520.       “However, a good faith
28   dispute that any wages are due will preclude imposition of waiting


                                         4
      Case 2:12-cv-02499-JAM-CKD Document 158 Filed 09/07/17 Page 5 of 8


 1   time penalties under Section 203.”      Id.

 2         A “good faith dispute” that any wages are due occurs
           when an employer presents a defense, based in law or
 3         fact which, if successful, would preclude any
           recover[y] on the part of the employee. The fact that
 4         a defense is ultimately unsuccessful will not preclude
           a finding that a good faith dispute did exist.
 5         Defenses presented which, under all the circumstances,
           are unsupported by any evidence, are unreasonable, or
 6         are presented in bad faith, will preclude a finding of
           a “good faith dispute.”
 7

 8   Id.   Similarly, Section 226(e) imposes penalties when an employee

 9   suffers injury due to the “knowing and intentional failure” of an

10   employer to provide accurate wage statements.        Courts have extended

11   the “good faith dispute” rule to Section 226, “even though Section

12   226 contains a ‘knowing and intentional’ standard rather than the

13   ‘willfully’ standard of Section 203.”       Woods v. Vector Mktg. Corp.,

14   No. C-14-0264 EMC, 2015 WL 2453202, at *3 (N.D. Cal. May 22, 2015).

15   Thus, penalties under either section are precluded if there is a

16   good faith dispute over whether wages are due.

17         C.     Good Faith Dispute

18         The Court finds there is a good faith dispute warranting

19   summary judgment on the section 203 and 226 derivative claims.

20   The factual disputes and proffered evidence regarding the overtime

21   claim are sufficient for determining the instant motion. However,

22   the Court does not express an opinion on Home Depot’s asserted

23   legal defenses to the underlying claim and this Order should not be

24   read as such.

25         The Court denied summary judgment on the midnight overtime

26   claim because triable issues of fact remained for a jury to

27   determine.    The evidence now before the Court supports the
28   conclusion that Home Depot, at minimum, has a good faith factual


                                         5
      Case 2:12-cv-02499-JAM-CKD Document 158 Filed 09/07/17 Page 6 of 8


 1   defense to the overtime wages claim.       In contrast, Plaintiffs have

 2   failed to show that this defense is unsupported, unreasonable, or

 3   presented in bad faith.

 4        Although Home Depot has not submitted direct evidence of a

 5   bona fide business purpose for its initial workday designation,

 6   Home Depot has presented circumstantial evidence tending to show

 7   the company did not design the workday for the purpose of evading

 8   overtime wages.   Home Depot’s declarant, Christina Barnaby,

 9   Director of Human Resources, attests that Home Depot established

10   its workday in the 1980s, that this designation has never changed,

11   that this designation has always applied on a company-wide basis,

12   that the first California store opened in 1985, and that Home Depot

13   had never, prior to this litigation, analyzed the impact that its

14   workday definition has on the overtime the company saved or paid.

15   Barnaby Decl., ECF No. 146-1; see also Barnaby Depo. III at 18:5–7,

16   19:16–19 (“A: [The workday] was established when we were the

17   company opened its first store doors, which was prior to

18   1981. . . . Q: When did Home Depot first have stores in a state

19   that paid overtime on a daily basis? A: When we opened stores in

20   California.”); Jakosalem, 2014 WL 7146672, at *6 (“FLSA has no

21   provision requiring daily overtime pay.”).        This history of

22   company-wide practice is relevant because it shows Home Depot

23   defined the workday before it was subject to daily overtime laws in

24   California and maintains the same workday in places that do not

25   regulate daily overtime.     The fact that Home Depot had not analyzed

26   the impact of the workday definition on overtime savings or

27   payments further indicates a lack of purposeful design.
28   Additionally, Home Depot’s workday lines up with the default


                                         6
      Case 2:12-cv-02499-JAM-CKD Document 158 Filed 09/07/17 Page 7 of 8


 1   workday in the California DLSE Manual (§ 48.1.3.1), which also

 2   suggests neutrality.    These facts constitute substantial evidence

 3   in support of Home Depot’s defense that the company did not define

 4   the workday for the purpose of evading its daily overtime

 5   obligations.

 6        Plaintiffs have not shown that Home Depot’s defense is

 7   unsupported, unreasonable, or presented in bad faith.         See Cal.

 8   Code Reg. tit.8, § 13520; Woods, 2015 WL 2453202, at *4 (“Here,

 9   this Court has already found that the classification issue raises

10   genuine disputes of material fact.       In turn, Plaintiffs have

11   pointed to no cognizable evidence that raises a genuine material

12   dispute of fact regarding whether Vector’s defenses are unsupported

13   by any evidence, unreasonable, or presented in bad faith so as to

14   preclude a finding of a good faith dispute.”) (citations and

15   quotation marks omitted).     Plaintiffs’ objections to Home Depot’s

16   evidence are also insufficient to defeat summary judgment.

17        On a motion for summary judgment, the Court looks to the facts

18   contained in the cited evidence, not the form of that evidence.

19   Norse v. City of Santa Cruz, 629 F.3d 966, 973 (9th Cir. 2010).          If

20   the content would be admissible at trial, the Court may consider it

21   for the summary judgment motion.        Fraser v. Goodale, 342 F.3d 1032,

22   1036–37 (9th Cir. 2003).

23        Plaintiffs’ objections to Ms. Barnaby’s Declaration based on

24   hearsay and lack personal knowledge do not preclude the Court’s

25   consideration of her statements.        See Pls.’ Objections to Barnaby

26   Decl., ECF No. 153-3.    Home Depot’s declarant, Ms. Barnaby, is the

27   Director of Human Resources Operations and her declaration “is
28   based on her personal knowledge and/or review of pertinent Home


                                         7
      Case 2:12-cv-02499-JAM-CKD Document 158 Filed 09/07/17 Page 8 of 8


 1   Depot documents and records.”       See Barnaby Decl. ¶ 1.    Although her

 2   statements concerning the history of the company’s workday

 3   definition are based, in part, on hearsay, they are also based on

 4   her personal knowledge of company policies and practices.             See

 5   Barnaby Depo. III at 16:21–18:7, 40:1–22; Def. Rep. to Pls.’ Resp.

 6   to Statement of Undisputed Facts, ECF No. 156-2.         Additionally, if

 7   she cannot testify to those facts at trial, the facts still appear

 8   to be subject to other forms of proof—i.e. testimony from her

 9   predecessors—that would be admissible.       The Court otherwise finds,

10   contrary to Plaintiffs’ assertions, Ms. Barnaby’s declaration is

11   consistent with the deposition testimony Plaintiffs submitted.              See

12   Pls.’ Objections to Barnaby Decl; Barnaby Depo. III.         The facts

13   attested to are thus proper grounds for granting summary judgment.

14        In sum, although a jury presented with the totality of the

15   evidence may still find Home Depot liable on the overtime claim—

16   hence, the reason the Court denied summary judgment—Home Depot has

17   presented a good faith defense to such liability.         Summary judgment

18   on the section 203 and 226 penalties claims is thus appropriate.

19

20                                III.    ORDER

21        For the reasons set forth above, the Court GRANTS Home Depot’s

22   Motion for Summary Judgment.

23        IT IS SO ORDERED.

24   Dated:   September 7, 2017

25

26

27
28


                                          8
